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                           UNITED STATES BANKRUPTCY COURT
                                             Southern District of Georgia

In re:                                                                               Case No.: 18−20369−MJK
Robert J. Thompson III and Dorothy Thompson
       Debtors                                                                       Judge: Michele J. Kim
                                                                                     Chapter: 13
                              NOTICE OF MODIFICATION OF PLAN BEFORE CONFIRMATION


On July 11, 2018 , the above−captioned Debtor filed a modification of the plan, a copy of which will be sent to you by the debtor
in a separate mailing.

Pursuant to 11 U.S.C. § 1323(c), "[a]ny holder of a secured claim that has accepted or rejected the plan is deemed to have
accepted or rejected, as the case may be, the plan as modified, unless the modification provides for a change in the rights of
such holder from what such rights were under the plan before modification, and such holder changes such holder's previous
acceptance or rejection."

                           THE HEARING ON CONFIRMATION IS ASSIGNED/REASSIGNED FOR:

                                            September 11, 2018 , at 10:30 AM
                        U. S. Courthouse, 801 Gloucester St., 3rd Floor Courtroom, Brunswick, GA

At the confirmation hearing the Court will conduct a hearing on the modified plan and any motions included therein. Objections
to the modified plan and to any motions included in the modified plan shall be filed seven days prior to the hearing date shown
above, pursuant to Fed. R. Bankr. P. 3015(f).



                                                                                 Lucinda Rauback, CLERK
                                                                                 United States Bankruptcy Court
                                                                                 801 Gloucester St, Rm 314
                                                                                 Brunswick, GA 31520

Dated August 8, 2018




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